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UNITED STATES DISTRICT COURT
WESTERN DISTRIC'I.` OF TENNESSEE 05 AUG 31 PH 3: 38
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UNITED STATES 0F AMERlCA W;‘D OF la '=»i'&it?rl$
-v- Case No. 2:99cr20013-002D
ALDOTFUS WILLIAMS
ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) 'I'he defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
corrununity, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
¢ report as directed by the Probation Office.
0 refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Probation Officer or as may be lawfully prescribed in writing
by a licensed medical practitioner.

0 submit to any method of testing required by the Probation office or the supervising officer for determining
whether the defendant is using a prohibited substance Such methods may be used with random frequency and
include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing.

l participate in a program of inpatient or outpatient substance abuse testing, education or treatment if de ed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

l other: Defendant shall abide by all conditions of supervised release previously imposed.. \ U

Th|s document entered on the docket n m
AO 199A Order Setting Conditlonf §§ iile?se _ _ D/
wi u e 55 and/or 32(b) FRCrP on

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ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of irnpiisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victini, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed lf you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.
%%/W

Sigii'ature of Defei'i'dant w

 

Aldotfus Williams
736 E. Georgia
Memphis, TN 38126
901-529-1535

AO 199A Order Settlng Conditions of Release ~2-

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DlRECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

’_______..
Date: August 31, 2005 <S. /A/MA.S M/%,{AJ

s. THoMAs`KNDERsoN
UNirED srArEs MAoisTRATE JUDGE

l]l:|

AO 199A Order Setting Condttions of Re|ease '3'

 

Notice of Distribution

This notice confirms a copy of`thc document docketed as number 162 in
case 2:99-CR-200]3 Was distributed by f`aX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

